  

Federal Rules of Appellate Procedure Form 1. Notice of Appeal to a Cour
From a Judgment or Order of a District Court.

United States District Court for the Distriet of
v\/ESTERN D!STR|GT oF NEW YoRK

 

File Number lS-CR-151~A

UN|TED STATES OF AMER|CA

Plaz'niz'fj‘,` )

v. ) Notice of Appeal
RYAN c. LANDER §
Defendant. )

Notice is hereby given that RYAN C- LANDER

g ‘¢
(defendants) in the above-named case*, hereby appeal to the United States Court of Appeals for

the SECOND ____Circuit (from the Hnaljudgment) (from an order (deseribing it)) entered in this
' action on the F‘RST day of$£gust . 20 18 .

 

echedulin`g' a hearing onthe Defendant's Motion for reconsideration of _his motion
to withdraw his guilty plea and determining that the Defendant_has waived his
attorney-client privilege with respeet to all communications with his erstwhile
attorney that the attorney reasonably believes necessary to disprove the

allegations of the Dei:°endant contained in his Moti:%

 

randy

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,atricl< J. Brown, Esq.

 

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